              Case 2:06-cr-00390-WBS Document 109 Filed 03/18/08 Page 1 of 2


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 4
     Attorneys for Defendant
 5   JIAPEI ZHOU
 6
 7                                 UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                     Criminal No. 2:06-cr-0390 EJG
                                                                   STIPULATION AND
11                                  Plaintiff,                     ORDER TO
                                                                   VACATE AND RESET THE
12                                                                 SENTENCING HEARING
13   v.
14   JIAPEI ZHOU, et al.,
15                           Defendants.
     _______________________________________/
16
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Robert
17
     Twiss, counsel for the plaintiff, and below signed counsel in the above mentioned case, that with
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     regard to defendant Jiapei Zhou , Mr. Zhou’s sentencing hearing now scheduled for April 4, 2008
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     at 10:00a.m., is continued until May 16, 2008 at 10:00a.m., or as soon thereafter as is convenient
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     for the Court. The stipulated reset is requested to afford counsel additional time to address
21
     sentencing issues in Mr. Zhou’s case.
22
            No party objects to the requested continuance.
23
            The court interpreter coordinator, Yolanda Riley Portal has been notified and has indicated
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     that May 16, 2008 is an available date for the interpreter’s office.
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            The Probation Officer, Linda Dillon, has also been notified and has indicated that May 16,
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     2008 is an available date for her office.
27
28
               Case 2:06-cr-00390-WBS Document 109 Filed 03/18/08 Page 2 of 2


 1            IT IS SO STIPULATED.
 2
     Dated: 03-13-08                            ___________/s/________________
 3                                              ROBERT TWISS
                                                Counsel for Plaintiff
 4
 5
     Dated: 03-13-08                            __________/s/_________________
 6                                              DOUGLAS L. RAPPAPORT
                                                Counsel for JIAPEI ZHOU
 7
 8
 9
10                                        ORDER
11
12   IT IS SO ORDERED
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14   Dated:    March 17, 2008                   /s/ Edward J. Garcia
                                                HON. EDWARD J. GARCIA
15                                              Senior United States District Court Judge
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